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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA
COMMONWEALTH OF                                )
PENNSYLVANIA,                                  )
                                               )    2:24-CV-1501
                                               )
             Plaintiff,                        )
                                               )
       v.                                      )
                                               )
CENTRE LANE PARTNERS, LLC, et al.,             )
                                               )
                                               )
             Defendants.                       )
                                               )
                                               )

                           MEMORANDUM OPINION

      For over 130 years, employees at the Pyrex plant in Charleroi, Pennsylvania

have manufactured glassware, including the familiar high-quality Pyrex glass baking

dishes found in many kitchens throughout the country.           A private equity firm

acquired the Charleroi plant several months ago and, before the end of the year,

intends to move operations from the plant to a facility in Ohio that it also owns and

where competing Anchor Hocking products are made. The shuttering of the Charleroi

plant will result in the loss of hundreds of jobs and, unquestionably, will have an

impact on the Mon Valley community.
      Against this backdrop, the Commonwealth of Pennsylvania, through the

Attorney General, filed this lawsuit, invoking federal antitrust law, and asking the

Court to immediately halt the move.

      After expedited proceedings over the past weekend and last few days and upon

a careful review of the present record, the Court is constrained to deny the

Commonwealth’s motion to stop the move. The reality is that the claims before the

Court are not labor claims, they are antitrust ones.         And while the Court is

sympathetic to employees whose jobs might be at risk and a long-time local facility



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that may cease production, in the specific context of this case, the Court must

narrowly consider the requirements of federal antitrust law and determine whether

they have been met. They have not.

      Based on the record before the Court, there is simply insufficient evidence

presented at this stage that the merger of the assets between Pyrex and Anchor

Hocking violates federal antitrust law through a decrease in output, an increase in

prices, or a decrease in quality, or creates antitrust injury—that is, harm to

competition and consumers. For these reasons, as well as others explained below,

the Court must deny the Commonwealth’s motion.

                                   BACKGROUND 1

I.    Centre Lane’s acquisition of Corelle Brands and subsequent merger
      of Anchor Hocking and Corelle Brands.
      Pyrex and Anchor Hocking are both manufacturers and suppliers of glass

bakeware.    ECF 9-1, ¶ 9.      Pyrex was part of Instant Brands, which filed for

bankruptcy in June 2023. ECF 9, ¶ 21. Instant Brands emerged from bankruptcy as

Corelle Brands, with Centre Lane, a private equity firm, owning 33.6% of the

company in February 2024. Id., ¶ 26. In March 2024, Centre Lane bought the

remaining ownership interest from the other creditors, and transferred full
ownership of Corelle Brands (including the Pyrex plant in Charleroi) to Anchor

Hocking, which is also part of Centre Lane’s portfolio of assets. ECF 37, p. 9.

      Because the parties were not required to provide notice of the merger to the

Commonwealth, the Commonwealth did not learn about the Anchor Hocking-Corelle

Brands transaction until later in the summer of 2024, through the press and through




1 The Court’s findings of fact are described only in part in this section.
                                                                    Other specific
factual findings are incorporated into the Court’s legal-analysis discussion that
follows.
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complaints that it received.     ECF 39. 2     In September 2024, Anchor Hocking

announced plans to close the Pyrex plant in Charleroi, and to transfer equipment and

operations to its plant in Lancaster, Ohio. ECF 9, ¶ 31; ECF 9-3, ¶ 27. This was due

to Anchor Hocking’s determination that “the business would be better served by

consolidating available capacity and [] moving all production to the Lancaster Plant,

maintaining the Charleroi Plant as a viable facility to meet increased demand as

needed.” ECF 37-3, ¶ 38. The Lancaster plant has significantly more capacity than

the Charleroi plant, and, in fact, since 2009, Anchor Hocking has served as a contract

manufacturer of Pyrex prepware and storageware at that Ohio facility. Id., ¶ 29, 34.

II.   Dismantling of the Pyrex Charleroi plant.
      As part of its consolidation plan, Anchor Hocking intended to disassemble

certain equipment in the Charleroi plant, including the four production lines, the

Kammann decorating machine, and the Eldred decorating machine, and then

reinstall two of the production lines and the Kammann and Eldred machines at the

Lancaster plant. Id., ¶ 41. It planned to first disassemble and transfer the 111 line
between October 28, 2024 and November 4, 2024.           Id., ¶ 43.   The 111 line is

responsible for around 25% of production at the Charleroi plant. ECF 9, ¶ 36. Anchor

Hocking also planned to drain and cool the Charleroi plant’s furnace, disassemble the
remaining three production lines around December 2024, and shut down the

Charleroi plant on December 18, 2024. ECF 37-3, ¶¶ 48-49.

      On October 10, 2024, Anchor Hocking provided a WARN Act notice to

representatives of the United Steel Workers Union at the Charleroi plant,

announcing that 173 employees would be permanently laid off within 14 days of




2 Because the official transcript of the preliminary-injunction hearing has not yet

been filed, the Court will cite to the minute entry (ECF 39) for the hearing instead,
in this order.
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December 9, 2024, and other layoffs would occur in late December, in January 2025,

and in February 2025. ECF 9-6, ¶ 18; ECF 9-3, ¶ 28.

       On October 15, 2024, Anchor Hocking committed to the Federal Trade

Commission that it would pause further material changes to the Charleroi plant and

continue operating the plant in the ordinary course for at least 60 days, through

December 14, 2024. ECF 37, p. 11; ECF 9-10.

III.   The Commonwealth’s complaint and motion for ex parte temporary
       restraining order.
       On October 31, 2024, the Commonwealth filed its complaint (ECF 2) against

Defendants Centre Lane Partners, LLC, Centre Lane Partners V, LP, Centre Lane

Partners V-A, LP, Anchor Hocking Holdings, Inc., EveryWare, LLC, and Universal

Tabletop, Inc., and also moved for an ex parte temporary restraining order and
preliminary injunction (ECF 3). The Commonwealth alleged that Centre Lane had

“orchestrated” a purchase of Corelle Brands and its Pyrex business in March 2024,

and then transferred full ownership of Corelle Brands to Anchor Hocking. ECF 9, ¶¶

2, 18, 27. It claimed that this merger between Corelle Brands and Anchor Hocking

violated Section 7 of the Clayton Act, because the merging entities are head-to-head

competitors in the glass bakeware market. Id., ¶ 97-98.

       The Commonwealth sought an ex parte temporary restraining order because
Defendants had begun to take substantial steps towards ultimately shutting down

the Pyrex plant in Charleroi and moving operations to Anchor Hocking’s plant in

Lancaster, Ohio. ECF 3. Specifically, on October 25, 2024, the Commonwealth

learned that Defendants intended to begin dismantling the Charleroi plant on

October 28, 2024, with the intent to transfer the dismantled equipment to Anchor

Hocking’s Lancaster plant. ECF 9-6, ¶ 21. The Commonwealth requested that

Defendants pause plans to dismantle the plant, but learned on October 28, 2024 that

the dismantling had started as scheduled. Id., ¶ 25.


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      The Court granted the Commonwealth’s ex parte motion on the same day it

was filed, and temporarily enjoined Defendants from making material changes to the

Charleroi plant and engaging in any action that would further combine Pyrex and

Anchor Hocking. ECF 6. 3 This order expires on November 14, 2024, at 5:13 p.m. The

equipment that has already been disassembled remains in Charleroi. ECF 37-3, ¶

58.

      Following a status conference on November 6, 2024, the parties agreed to

proceed with a hearing on the Commonwealth’s motion for preliminary injunction on

November 12, 2024, and informed the Court that there was no need for expedited

discovery before that hearing. ECF 21. With agreement of the parties, the Court set

an expedited schedule for submissions of declarations and briefs before the hearing.

ECF 20; ECF 30; ECF 31; ECF 32; ECF 33; ECF 37; ECF 38.

      The preliminary-injunction hearing proceeded as scheduled on November 12,

2024, with the Court hearing testimony from two witnesses, as well as attorney

argument. ECF 39. The Court admitted into evidence as exhibits the complaint, the

parties’ declarations, and all attachments thereto. ECF 40.
                               LEGAL STANDARD

      The Commonwealth seeks injunctive relief for an alleged violation of Section 7

of the Clayton Act, under Section 16 of the Clayton Act, 15 U.S.C. § 26, which allows

a private plaintiff to seek preliminary injunctive relief.        Because Section 16

authorizes injunctive relief “under the same conditions and principles as injunctive



3 Because it was an ex parte motion, the Court’s TRO rested on a one-sided
presentation of the case, and without the benefit of any other testimony and evidence.
The Court’s TRO was also primarily driven by the Commonwealth’s representation
that the 111 line would be disassembled the next day and would be virtually
impossible to reassemble. ECF 6, pp. 1-2; ECF 9-6, ¶¶ 28-30. As discussed below, in
the context of the preliminary-injunction motion, the Court now has before it
additional information and evidence, which has changed the calculus.
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relief against threatened conduct that will cause loss or damage is granted by courts

of equity,” the rules relating to prerequisites for granting preliminary injunctions in

Section 7 cases “do not differ materially from those applicable in other areas.” Pargas,

Inc. v. Empire Gas Corp., 423 F. Supp. 199, 207 (D. Md. 1976), aff’d, 546 F.2d 25 (4th
Cir. 1976).

       “‘A plaintiff seeking a preliminary injunction must establish [(1)] that he is

likely to succeed on the merits, [(2)] that he is likely to suffer irreparable harm in the

absence of preliminary relief, [(3)] that the balance of equities tips in his favor, and

[(4)] that an injunction is in the public interest.’” Ferring Pharms., Inc. v. Watson
Pharms., Inc., 765 F.3d 205, 210 (3d Cir. 2014) (quoting Winter v. Natural Resources
Defense Council, Inc., 555 U.S. 7, 20 (2008)). The first two factors are the “most
critical” factors, and so a court need only typically balance all four factors if the first

two factors are met. Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017).

“The movant bears the burden of showing that these four factors weigh in favor of

granting the preliminary injunction.” Checker Cab of Philadelphia Inc. v. Uber

Techs., Inc., 643 F. App’x 229, 232 (3d Cir. 2016). “Preliminary injunctive relief is an
extraordinary remedy, which should be granted only in limited circumstances.”

Ferring Pharms., Inc., 765 F.3d at 210 (quotation omitted).
                             DISCUSSION & ANALYSIS

I.     The Commonwealth has not shown a likelihood of success on its
       Section 7 claim.
       To begin, the Commonwealth must establish that it is reasonably likely to

succeed on the merits. Based on the record before the Court, the Court finds that it

has failed to do so.

       Section 7 of the Clayton Act bars mergers whose effect “may be substantially

to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18. “To stop a

merger, a Section 7 plaintiff ultimately must show that a substantial lessening of

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competition is sufficiently probable and imminent.” FTC v. Thomas Jefferson Univ.,

505 F. Supp. 3d 522, 537 (E.D. Pa. 2020) (cleaned up). A Section 7 claim is evaluated

under a three-part burden-shifting framework. United States v. United States Sugar

Corp., 73 F.4th 197, 203 (3d Cir. 2023). First, the plaintiff must establish a prima
facie case that the merger is anticompetitive. Id. Second, the burden shifts to the
defendant to rebut the prima facie case. Id. Third, if the defendant successfully

rebuts the prima facie case, “the burden of producing additional evidence of

anticompetitive effect shifts to the [plaintiff], and merges with the ultimate burden

of persuasion, which remains with the [plaintiff] at all times.” Id. at 204 (cleaned up).
      To establish a prima facie case, the plaintiff must: (1) determine the relevant

product and geographic markets; and (2) show that the merger will probably lead to

anticompetitive effects in that market. FTC v. Penn State Hershey Med. Ctr., 838

F.3d 327, 337-38 (3d Cir. 2016). Determining the relevant market is a “necessary

predicate” to finding a Section 7 violation—“[w]ithout a well-defined relevant market,

an examination of a transaction’s competitive effects is without context or meaning.”

FTC v. Freeman Hosp., 69 F.3d 260, 268 (8th Cir. 1995) (cleaned up).
      In defining the relevant product market, “[t]he outer boundaries of a product

market are determined by the reasonable interchangeability of use or the cross-

elasticity of demand between the product itself and substitutes for it.” Brown Shoe

Co. v. United States, 370 U.S. 294, 325 (1962); see also FTC v. RAG-Stiftung, 436 F.
Supp. 3d 278, 292 (D.D.C. 2020) (“When aggregating products into a relevant market,

courts focus on demand substitution because it illuminates whether customers can

switch to one product and constrain anticompetitive pricing in another.”). Courts

commonly use two approaches to help define a relevant product market. Id. at 293.

One is the “Hypothetical Monopolist Test,” which asks whether a hypothetical

monopolist controlling the products in the alleged market could profitably undertake

a small but significant and non-transitory increase in price or other worsening of

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terms for at least one product in that market. Id.; U.S. Dep’t of Just. & Fed. Trade

Comm’n, Merger Guidelines § 4.3.A (2023). The other approach focuses on the factors

that the Supreme Court described in Brown Shoe: “industry or public recognition of

the submarket as a separate economic entity, the product’s peculiar characteristics

and uses, unique production facilities, distinct customers, distinct prices, sensitivity

to price changes, and specialized vendors.” 370 U.S. at 325.

      As to the relevant geographic market, this refers to the “area in which a

potential buyer may rationally look for the goods or services he seeks.” Penn State

Hershey Med. Ctr., 838 F.3d at 338 (cleaned up); see FTC v. Cardinal Health, Inc.,
12 F. Supp. 2d 34, 49 (D.D.C. 1998) (“[T]he relevant geographic market is the area to

which consumers can practically turn for alternative sources of the product and in

which the antitrust defendant[] face[s] competition.” (cleaned up)); New York v.

Deutsche Telekom AG, 439 F. Supp. 3d 179, 203 (S.D.N.Y. 2020) (the relevant
geographic market is “the area in which the goods or services at issue are marketed

to a significant degree by the acquired firm” (cleaned up)).

      After careful review of the evidence presented in connection with the

preliminary-injunction motion, the Court finds that the Commonwealth has adduced

insufficient evidence to make a prima facie case. Most crucially, it falters at the first

step of the analysis: defining the relevant market. The Commonwealth argues that

the relevant market is the glass bakeware market in the United States, because glass

bakeware “is differentiated from other types of metal or non-metal bakeware for its

ability to hold heat better, its suitability for certain baking applications, and its

versatility in doubling as food storage.” ECF 9-6, p. 11. It claims that consumers

have preferences to use certain types of bakeware for certain baking purposes and

that non-glass bakeware products provide a very different customer experience. ECF

9, ¶¶ 87, 89. At the preliminary-injunction hearing, it argued that glass bakeware is

the relevant market under the Brown Shoe factors.

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      However, the Commonwealth’s claims are not based on reliable data or

sufficient expert analysis.   The Commonwealth offers two affidavits from Kevin

Worth, Chief Economist for the Pennsylvania Office of the Attorney General, in which

he opines that glass bakeware is a properly defined market and then, somewhat

inconsistently, states that he was not specifically tasked with defining the relevant

product market. ECF 30, ¶ 20; ECF 38, ¶ 4.

      In the first affidavit, Mr. Worth claims that glass bakeware is the proper

market because: (1) publicly available information (including websites dedicated to

food preparation) clearly distinguish between glass bakeware and metal bakeware

based on their uses and characteristics, (2) metal is not a reasonable substitute for

glass bakeware, (3) ceramic bakeware is more expensive than glass bakeware, and is

an imperfect substitute for glass bakeware, (4) glass bakeware is distinguishable

from both metal and ceramic bakeware in that it is transparent, and (5) metal

bakeware and ceramic bakeware are not substitutable enough to apply competitive

pressure on glass bakeware products. ECF 30, ¶¶ 13-17.

      But most of these conclusions are speculative and unsupported by any data or

analysis.   The Commonwealth has not done meaningful analysis to identify the

products that are reasonable substitutes in response to a price increase of a product.

      For example, the Commonwealth did not perform a Hypothetical Monopolist

Test, as is the standard approach in other Section 7 cases—even at the preliminary-

injunction stage. 4 As Defendants’ expert economist, Dr. Loren Smith, explained, Mr.


4 At the hearing, the Commonwealth argued that a detailed economic analysis is not

typical at the preliminary-injunction stage, and that the Court can just examine other
qualitative factors, such as the Brown Shoe factors, barriers to entry, and the history
of the acquisition. But this is contradicted by other cases in which courts have
routinely considered quantitative evidence (including the Hypothetical Monopolist
Test) to determine the relevant product market, even at the preliminary-injunction
stage. See, e.g., FTC v. IQVIA Holdings Inc., 710 F. Supp. 3d 329 (S.D.N.Y. 2024);
FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008); California v. Sutter
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Worth’s conclusion that glass bakeware is a distinct market is based on picking a

group of products based on some product characteristics and his interpretation of

consumer preferences; but this approach is problematic because it merely assumes

his conclusion. ECF 36-5, p. 11.

       And as to the Brown Shoe factors, the Commonwealth’s evidence stops short.

For example, one affiant stated that glass bakeware is different from metal bakeware

because it is more durable, does not have a chemical finish, and has a different price

point. ECF 9-8, ¶ 15. Two affidavits from investigators in the Attorney General’s

office showed field research from various retail stores that purportedly demonstrated

that Pyrex dominated the retail shelf space for glass bakeware items. ECF 31; ECF

33. But this is insufficient. In determining the existence of market power and the

“responsiveness of the sales of one product to price changes of the other,” the Court

must examine the “economic reality of the market at issue.” Eastman Kodak Co. v.
Image Tech. Servs., Inc., 504 U.S. 451, 467 (1992) (cleaned up). Without more
concrete data that goes beyond anecdotal consumer preferences (and hypotheses

about what the consumer preferences may be), the Court cannot with any reasonable

probability determine what the economic reality of the market is and whether a glass

bakeware market is a distinct antitrust market.

      Indeed, Defendants’ expert, Dr. Loren Smith, offers some compelling evidence

that, at the very least, casts doubt on the Commonwealth’s claim that non-glass

bakeware is not a reasonable substitute for glass bakeware. For example, the range

of glass bakeware prices overlaps significantly with the prices of all non-glass

bakeware (including metal and ceramic bakeware), so this undermines the


Health Sys., 130 F. Supp. 2d 1109 (N.D. Cal. 2001); Bon-Ton Stores, Inc. v. May Dep’t
Stores Co., 881 F. Supp. 860 (W.D.N.Y. 1994), decision supplemented, No. 94-6454,
1995 WL 215307 (W.D.N.Y. Mar. 6, 1995). And even if the Court were to only consider
the Brown Shoe factors, the Commonwealth still has not provided sufficient evidence
that glass bakeware is a distinct market.
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Commonwealth’s claim that glass bakeware is distinct because it is priced differently

than metal or ceramic bakeware. ECF 37-5, ¶ 31. Additionally, in a survey of what

type of bakeware consumers were most likely to buy, 19.1% of respondents indicated

glass; 60.1% indicated metal; and 8.1% indicated silicone. Id., ¶ 28. This suggests

that bakeware manufacturers may be unable to price discriminate based on consumer

preferences. Id. This also suggests that consumers’ purchasing decisions, when

choosing what type of bakeware products to buy, are much more complicated than

the Commonwealth has assumed.

      There are too many holes in the analysis for the Court to define the market in

the way that the Commonwealth proposes.         Based on the present record, the

Commonwealth has not made the requisite showing to warrant the requested

preliminary injunction, and it would be inappropriate for the Court to grant a

preliminary injunction without either expert analysis or a much more thorough

record on the relevant market.

      Even setting aside the market-definition issue, the Commonwealth’s analysis

of market shares and market concentration is not reliable. To begin with, without a

sound market definition, the analysis of market shares and concentration becomes

inherently faulty.

      In his second affidavit, Mr. Worth calculated market shares and HHIs 5 for

three different potential product markets: baking dishes, casserole dishes, and pie



5 The Herfindahl-Hirschman Index (HHI), a tool that is common for measuring
market concentration, is calculated by summing the squares of the individual firms’
market shares. IQVIA Holdings Inc., 710 F. Supp. 3d at 379; see FTC v. Tapestry,
Inc., No. 24-03109, 2024 WL 4647809, at *38 (S.D.N.Y. Nov. 1, 2024) (“By squaring
individual firms’ market shares, the HHI takes into account the relative size and
distribution of the firms in a market, increasing both as the number of firms in the
market decreases and as the disparity in size among those firms increases.” (cleaned
up)). Consistent with the 2023 Merger Guidelines, courts “consider both the post-
merger HHI number and the increase in the HHI resulting from the merger” in
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dishes. ECF 38-1, ¶ 26. For the baking dish market, he found that the combined

market share of Pyrex and Anchor Hocking, including the private label companies, is

35.8%. Id., ¶ 29. He found that the delta HHI for the baking dish market would be

1318; this calculation appears to only include national brands, and not the private

label companies. Id., ¶ 28. But Mr. Worth doesn’t explain why the calculation of the

delta HHI excludes private label companies (and why the market share calculation,

on the other hand, includes the private label companies). He appears to assume that

the private label companies are unlikely to be “strong competitors” against the

national brands. ECF 30, ¶ 33. This is speculative, especially if (as Defendants

alluded to during the hearing) the private label brands include foreign manufacturers

importing products into the United States. Additionally, Mr. Worth appears to have

excluded Amazon from his analysis, because he questions the reliability of Amazon’s

data. ECF 38-1, ¶¶ 11-16. But, as Dr. Loren Smith testified during the hearing,

Amazon is a major channel through which imported products are sold. An analysis

that excludes or discounts Amazon, without any further justification, is not reliable.

      In the end, the Commonwealth recognizes that it is hamstrung here because it

lacks all the data needed to define the market and perform the appropriate

concentration analysis. ECF 30, ¶ 6; ECF 38-1, ¶¶ 8-10; ECF 39. The Commonwealth

emphasizes that it lacked access to sufficient data that would have allowed it to

conduct a more thorough analysis of the relevant market (e.g., conducting a

Hypothetical Monopolist Test), and that this is typically data that would be shared



“determining whether the HHI demonstrates a high market concentration[.]” Penn
State Hershey Med. Ctr., 838 F.3d at 346-47; see also Tapestry, Inc., 2024 WL
4647809, at *39. Under the 2023 Merger Guidelines, “a merger that creates a firm
with a share over thirty percent is also presumed to substantially lessen competition
or tend to create a monopoly if it also involves an increase in HHI of more than 100
points.” Merger Guidelines § 2.1.



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by the opposing party during discovery. ECF 30, ¶ 6; ECF 38-1, ¶¶ 8-10; ECF 39.

The Court is certainly sympathetic to the Commonwealth’s data constraints. But it

isn’t a reason to lower the standard for granting preliminary relief, especially when

a preliminary injunction is an extraordinary remedy that should be granted only in

limited circumstances. 6
II.       The Commonwealth has not shown irreparable harm absent
          preliminary relief.
          The Commonwealth’s motion also fails based on the second primary injunction

factor: lack of irreparable harm. The Commonwealth asserts four harms—but none
of them rise to the level of being “irreparable” to warrant preliminary-injunctive

relief.

          Antitrust injury. The Commonwealth first argues that the merger between

Anchor Hocking and Corelle Brands results in irreparable public harm because it

eliminates head-to-head competition in the relevant market, which results in reduced

output, increased prices, and a decrease in quality. ECF 9-6, p. 16. For a private

plaintiff to obtain injunctive relief under the Clayton Act, it must show “a significant




6 In a certain sense, the lack of a more detailed analysis was a strategic gamble by

the Commonwealth. In many preliminary-injunction cases like this one, the parties
seek and take expedited discovery before the hearing. See, e.g., fuboTV Inc. v. Walt
Disney Co., No. 24-01363, 2024 WL 3842116, at *1 (S.D.N.Y. Aug. 16, 2024); Payment
Logistics Ltd. v. Lighthouse Network, LLC, No. 18-0786, 2018 WL 3869956, at *3
(S.D. Cal. Aug. 14, 2018) (finding, in a Section 7 case, that “permitting limited
discovery on an expedited basis is appropriate to aid plaintiff in its motion for
preliminary injunction”); Penn State Hershey Med. Ctr., 838 F.3d at 334; Charming
Shoppes Inc. v. Crescendo Partners II, L.P., 557 F. Supp. 2d 621, 623 (E.D. Pa. 2008);
FTC v. Staples, Inc., 970 F. Supp. 1066, 1070 (D.D.C. 1997); Tasty Baking Co. v.
Ralston Purina, Inc., 653 F. Supp. 1250, 1254 (E.D. Pa. 1987). Indeed, at the
November 6, 2024, conference, the Court asked whether the parties were ready to
move forward with the planned preliminary-injunction hearing on November 12,
2024 or whether there was any need for expedited discovery. The Commonwealth
represented to the Court that it was prepared to proceed with the hearing as
scheduled, and that there was enough evidence to move forward with the hearing.
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threat of irreparable antitrust injury[.]” Steves & Sons, Inc. v. JELD-WEN, Inc., 988

F.3d 690 (4th Cir. 2021) (cleaned up).       But as the Court discussed above, the

Commonwealth does not sufficiently present a prima facie case; without defining a

relevant market and presenting reliable evidence of market shares and market

concentration, it cannot show the alleged harm to competition, e.g., the antitrust

injury. Moreover, the merger between Anchor Hocking and Corelle Brands was

consummated in March 2024. ECF 9-6, ¶ 12. The Commonwealth has offered no

evidence that, between March 2024 and now, there were any reduced outputs,

increased prices, or decreases in quality. Thus, with the present record, the Court

cannot find that there is irreparable harm to competition.

      Difficulties with divestiture. The Commonwealth next argues that there

will be irreparable harm because it is difficult to “unscramble the eggs” after a merger

is consummated, such that a later divestiture order would no longer be an adequate

or effective remedy if the Commonwealth ultimately prevailed on its Section 7 claim.

ECF 9-6, pp. 17-18. In other words, any permanent injunctive relief that the Court

grants down the road may not be effective without granting some sort of preliminary

injunctive relief. See FTC v. Tapestry, Inc., No. 24-03109, 2024 WL 4647809, at *69
(S.D.N.Y. Nov. 1, 2024) (“After a merger closes and the two entities combine their

assets and operations into a single corporate unit, divestiture becomes decidedly more

complex.” (quoting Steves & Sons, 988 F.3d at 729 (Rushing, J., concurring));

Marathon Oil Co. v. Mobil Corp., 530 F. Supp. 315, 320 (N.D. Ohio 1981) (observing
that the goal of a preliminary injunction “is the maintenance of the status quo to

assure that the firm which is the target of the proposed acquisition will remain a

viable, independent, competitive entity if it ultimately prevails on the merits”), aff’d,

669 F.2d 378 (6th Cir. 1981), adhered to, 669 F.2d 384 (6th Cir. 1982).

      However, the reality is that this merger has already been consummated, and

so the merged assets have already been scrambled to some degree. As represented

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at the hearing by Defendants and reflected in some of the hearing exhibits, some

competitively sensitive information has already been shared between Corelle Brands

and Anchor Hocking. See ECF 37-20. A denial of a preliminary injunction before the

consummation of a merger may cause irreparable harm, but the Commonwealth’s

theory of irreparable harm holds less weight when several months have passed since

the merger was consummated.

      But beyond this, the Court is not convinced that divesture couldn’t ultimately

be ordered here. In other words, the eggs could be unscrambled. This is supported

by the fact that “Pyrex” is really simply a brand, and the Court sees no reason why,

if the Commonwealth prevailed at the end of this case, it couldn’t structure

divestiture in a way that could provide the market with independent and separately

competing brands.     Divestiture is recognized as “[t]he customary form of relief” in

Section 7 cases, and nothing in the record rules that relief out here. Saint Alphonsus
Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 793 (9th Cir.
2015); United States v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 329 (1961)

(“The very words of [Section 7] suggest that an undoing of the acquisition is a natural

remedy.”); DeMartini v. Microsoft Corp., No. 22-08991, 2023 WL 3569993, at *4 (N.D.

Cal. May 19, 2023) (plaintiffs’ alleged irreparable antitrust injury was not sufficiently

immediate to warrant preliminary injunctive relief when plaintiffs did not show that

the merger could not be undone); Saint Alphonsus Med. Ctr.--Nampa, Inc. v. St.

Luke’s Health Sys., Ltd., No. 12-560, 2012 WL 6651167, at *4 (D. Idaho Dec. 20, 2012)
(finding that plaintiff hadn’t shown irreparable harm from a proposed merger, due in

part to the ability for the transaction to be unwound).

      Dismantling of the Charleroi plant. The Commonwealth contends that,

without preliminary relief, Defendants will continue to dismantle the equipment at

the Charleroi plant in preparation for shutting down the plant and transferring Pyrex

assets to Anchor Hocking’s plant in Lancaster. ECF 9-6, p. 17. One of the four main

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production lines at the Charleroi plant, the 111 line, has already been disassembled.

ECF 37-3, ¶ 24; ECF 9-6, p. 17. It appears that Defendants’ plan, at least before the

Court issued the TRO, was to reinstall the 111 line (and the 112 line) at the Lancaster

plant. ECF 37-3, ¶ 41. The 111 line currently remains at the Charleroi plant; the

Commonwealth claims, based on affidavits from employees at the Charleroi plant,

that the 111 line was dismantled in a way that it cannot be reassembled in a usable

condition and that, if the 111 line is moved to the Lancaster plant, it will be

“prohibitively difficult to return the equipment and resume normal operations at the

Charleroi Plant.” ECF 9, ¶ 37; ECF 37-3, ¶ 58; ECF 9-6, p. 17.

      But based on the evidence before it, the Court is not persuaded that the

dismantling of the equipment is irreversible. Indeed, an employee at the Charleroi

plant testified at the hearing that it would take around three months to reassemble

the 111 line; this employee stated essentially that, with enough time and money, the

equipment could be put together again. See ECF 9-2, ¶ 32-33. Defendants also
submitted an affidavit from the Chief Operating Officer of Anchor Hocking, Nathan

Smith, who stated that it would take around 42 days and $2,100,000 to disassemble,

ship, and reinstall the 111 line at the Lancaster plant; the timeline and cost would

be the same if Defendants had to return the equipment back to the Charleroi plant.

ECF 37-3, ¶¶ 45, 47. There may be harm stemming from the time and cost of moving

and reassembling the equipment, but these harms are not irreparable.

      The same applies for the other equipment that the Commonwealth claims have

been dismantled or will be dismantled. For example, the Commonwealth claims that

shutting down the glass furnace at the Charleroi plant would make it “almost

impossible for the facility to resume operations due to the structure and expense” of

the glass furnace and because the furnace cannot be restored once the glass is allowed

to go cold in the furnace. ECF 9-6, ¶ 36. But this is undermined by the affidavit (to

which the Commonwealth cites) from Robert M. Witherell, who declared that he is

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“familiar with instances in which glass furnaces were drained, repaired, and brought

back online.” ECF 9-7, ¶ 20. This would suggest that the furnace could be restarted—

and regardless, the expense and time of building a new glass furnace is not

irreparable and can be remedied by damages.

      Loss of jobs. The Commonwealth raises the harm that employees and the

public will suffer from the loss of employees at the Charleroi plant, either through

termination by Defendants or through voluntary termination for other employment

opportunities. ECF 9-6, p. 18. This is probably the strongest claim of harm advanced

by the Commonwealth. The Court is sympathetic to and recognizes the significant

impact that the dismantling and potential shutting down of the Charleroi plant has,

or will have, on the employees working at the plant. For the employees that have

worked at the plant, as well as their families, the loss of jobs can be very damaging.

As the Commonwealth persuasively notes, the Charleroi plant is the last largest

manufacturer in the community and is an important employer. Id.
      But the question in the context of the present motion is whether the loss of jobs

is “irreparable,” such that the injunction will prevent against this harm and money

damages will not be a viable alternative.         Here, many employees have already

voluntarily left (presumably for other more stable employment opportunities), and so

it is not clear that these employees will return to the Charleroi plant even if the Court

were to grant a preliminary injunction.            ECF 9-6, p. 17.      And while the

Commonwealth claims that if the plant later resumes operations, it will not be able

to replace the lost employees, that is not sufficiently supported by the present record.

ECF 9-6, p. 17-18. Put differently, the Commonwealth hasn’t shown how “any costs

relating to the finding and training of new employees in the future cannot be reduced




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to money damages.” Ortho Biotech Prod., L.P. v. Amgen Inc., No. 05-4850, 2006 WL

3392939, at *7 (D.N.J. Nov. 21, 2006). 7

       Thus, considering the asserted harms advanced by the Commonwealth, the

Court finds that it has not met its burden of establishing irreparable harm.

III.   The balance of equities and the public interest do not weigh in the
       Commonwealth’s favor.
       Finally, while the first two factors are dispositive here, the Court finds that

the remaining factors also do not favor injunctive relief.

       The balance of equities does not favor the Commonwealth. Defendants have

presented some evidence that the issuance of a preliminary injunction would pose a

burden on them and would subject their operations to unpredictability on a day-to-

day basis.    Most concretely and immediately, based on Mr. Nathan Smith’s

declaration, Anchor Hocking had produced an 8-week surplus of Pyrex products to

cover the projected demand for the 6-week stoppage period it had expected for the

disassembly and the reinstallation of the 111 line. ECF 37-3, ¶ 45. However, this

surplus supply is expected to be depleted by mid-December. Id., ¶ 58. And once the

supply runs out, if a preliminary injunction is in place, Anchor Hocking won’t be able

to satisfy its obligations to its distributor. ECF 37, p. 24. While this burden to
Defendants alone wouldn’t warrant denial of the motion, it does highlight that there

is some negative impact here on Defendants’ productions, and potentially on

consumers or purchasers who have placed orders.

       As to the public interest, it is neutral for the Commonwealth, because this

factor goes hand in hand with likelihood of success on the merits. In the Section 7


7 The Commonwealth’s concerns about the effect that the plant closure will have on

employees are mitigated, to a degree, by the fact that at least some employees at the
Charleroi plant have been offered jobs at the Lancaster plant. ECF 37, p. 20; ECF
37-3, ¶ 51. There are disputes in the record on the aspects and scope of the relocation
offers, and so the Court discounts this consideration in its analysis.
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context, courts have recognized that “[t]he principal equity weighing in favor of

issuance of [a preliminary] injunction is the public’s interest in effective enforcement

of the antitrust laws.” Penn State Hershey Med. Ctr., 838 F.3d at 352 (cleaned up).

So there is a strong public interest in the effective enforcement of Section 7, such as

through a preliminary injunction that prevents the loss of competition. That said,

the Court must also consider whether issuing a preliminary injunction here would

harm the public interest if this merger is ultimately not unlawful under Section 7.

See Thomas Jefferson Univ., 505 F. Supp. 3d at 558 (in considering whether granting
a preliminary injunction would be in the public’s interest, the court considers whether

the harm that the merging parties will suffer if the merger is delayed will harm the

public more than if the injunction is not issued).

      Because the Commonwealth hasn’t demonstrated that it is likely to succeed on

the Section 7 claim, the Court cannot rule out the possibility that this merger may

turn out to be procompetitive or otherwise generate benefits for the public. See
Freeman Hosp., 69 F.3d at 272 (once the government failed to show likelihood of
success on the merits, the public equities it advanced—including the public interest

in competitive hospital prices—are substantially weakened; and once “the party

moving for preliminary injunctive relief has failed to adequately show a likelihood of

success on the merits, it faces a particularly heavy burden of demonstrating that the

equities nevertheless militate in favor of granting the requested relief.”).

                                    *      *         *

      In conclusion, the Court finds that the Commonwealth has not met its burden

for preliminary-injunctive relief, which is a finding based on the present record before

the Court.    So the Court hereby DENIES the Commonwealth’s motion for

preliminary-injunctive relief (ECF 3).

      This order, however, should not be construed as a ruling on the ultimate merits

of any claims or defenses, particularly given that no discovery has occurred and

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experts haven’t opined on many of the significant legal issues in this case.

      In addition, by separate order, the Court will order the parties to engage in

mediation consistent with the local ADR rules, and to do so on an expedited basis.

The Court encourages the parties to engage in good-faith settlement discussions, in

the context of that mediation or otherwise, including attempts to reach provisional

agreements pertaining to job relocation, continued operation of the Charleroi plant,

or hold-separate arrangements, during the pendency of this case.




Date: November 14, 2024                              BY THE COURT:

                                                     /s/ J. Nicholas Ranjan
                                                     United States District Judge




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